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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division




 WARNER MUSIC GROUP CORP.,et al.

                               Plaintiffs,

 V.                                                                            No. I:14cv374
                                                                                (LO / IDD)
 MEGAUPLOAD LIMITED,et al..

                               Defendants.


                                               ORDER


        UPON CONSIDERATION of the consent motion filed by Defendant Megaupload

 Limited for a stay of this action because of a parallel criminal action pending in this Court

(No. 1:12-cr-00003-LO), and Plaintiffs consenting thereto on certain terms and conditions stated

 below, and finding good cause, it is hereby

        ORDERED that this matter be stayed until October I, 2019, on the same terms and

conditions as set forth in the Court's original stay order (Dkt. No. 27); and it is further

        ORDERED that if there is a material change in circumstances, either in this action or in

the related criminal matter, the parties are instructed to promptly notify the Court, in which case

 Plaintifis may request a termination of the stay and a resumption of these proceedings.

                              ENTERED this          day of April 2019.



 Alexandria, Virginia
                                               Liam O'GS
                                               United State^District Judge
